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                 EXHIBIT B-140
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                                                                                     FILED IN OFFICE



                 IN THE SUPERIOR COURT OF FULTON COUNTY '-----i.-~;;..;;.;.;.;;.=..:::..:.;..:.;_:;;.:.:.,._--1
                             STATE OF GEORGIA
IN RE: SPECIAL PURPOSE
GRAND JURY
                                               •

                                               •      CASE NO 2022-EX-000024



                                               •

   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests    permission   to use a recording device in
Courtroom SD in order to Drecord images and/or XX sound during all or
portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): XX computer of any size, including a
tablet, a notebook, and a laptop; XX smart phone, a cell phone or other
wireless phone; D camera and other audio or video recording devices D any
similar devices

The proceedings that the undersigned desires to record commence on January
24, 2023 at noon Subject to direction from the court regarding possible pooled
coverage, the undersigned   wishes to use this device in the courtroom on
January 24, 2023 at noon.

The personnel who will be responsible              for the use of this recording device are:
Holly Bailey of the Washington Post.

The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.


For questions or concerns email pio@fultoncountyqa.gov                                           1
Rule 22 (Rev. 04/01/ 18)
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Holly Bailey/Washington Post
(News Agency/Media Outlet/Law Firm/Individual               Representative)

holly.bailey@washpost.com
(Email Address)

202-277-5302
(Phone Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               [glApproved


              The requesting agency:
                            be pool for its media
                      [glShall not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

So ORDERED this 23 rd day of January            2023.




                     J   age fSuporu>, Court of ~'!;q.--------
                                 Atlanta Judicial Circuit




For questions or concerns email pio@fultoncountuqa.gov                         2
Rule 2,2 (Rev. 04/01/ 18)
